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                                                   9 NADER, on behalf of himself and all
                                                       others similarly situated.
                                                  10

                                                  11                              UNITED STATES DISTRICT COURT
KIESEL + LARSON LLP




                                                  12              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                      Beverly Hills, California
                         Attorneys at Law




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                                                  14 STANLEY NADER, on behalf of                   Case No. CV-12-01265-DSF (RZx)
                                                       himself and all others similarly situated   [Consolidated with Case Nos.
                                                  15                                               CV-12-1772-DSF (RZx) and
                                                                     Plaintiff,                    CV-12-4906-DSF (RZx)]
                                                  16
                                                             v.                                    CLASS ACTION
                                                  17
                                                                                                   CORRECTED TABLE OF
                                                  18 CAPITAL ONE BANK (U.S.A.), N.A.               AUTHORITIES FOR MOTION
                                                       and DOES 1 through 20,                      FOR CLASS CERTIFICATION
                                                  19                                               [DOC. NO. 103]
                                                                     Defendants.
                                                  20
                                                                                                   Judge: Hon. Dale S. Fischer
                                                  21 AND RELATED CONSOLIDATED                      Date: October 21, 2013
                                                       CASES                                       Time: 1:30 p.m.
                                                  22                                               Crtrm.: 840 - Roybal
                                                  23                                               Trial Date:   November 5, 2013
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                                                                                                          CORRECTED TABLE OF AUTHORITIES
                                                                                                       FOR MOTION FOR CLASS CERTIFICATION
                                                                                                                              [DOC. NO. 103]
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                                                                                                                   iv                          PLAINTIFFS’ MOTION FOR
                                                                                                                                                 CLASS CERTIFICATION
